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MARK C, POLONCARZ

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JEREMY C. TOTH

DEPARTMENT OF LAW

July 25, 2022

VIA _ CM/ECF

Hon. Geoffrey W. Crawford

United States District Court of Vermont
PO Box 478

Rutland, Vermont 05702-0478

Re: Wekenmann, Justin v. Biegasiewicz, et. al.
Our File No.: 31-20180080
Case No.: 1:19-cv-01572

Dear Judge Crawford:

This office represents defendants in the above-named matter. I filed a motion to compel
plaintiff's discovery responses on June 28, 2022 (Dkt. No. 30). Subsequent to the filing of my
motion, plaintiff provided the responses I sought. Accordingly, please allow this to serve as a
withdrawal of the pending motion. Please advise if anything further is needed from me. Thank
you.

Respectfully submitted,

JEREMY C. TOTH
Acting County Attorney

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